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                      UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH DAKOTA
                              CENTRAL DIVISION


In Re:                                        BK05-30027
                                              Chapter 11
SI TANKA UNIVERSITY
                                                 WITNESS AND EXHIBIT LIST
         Debtor.



         Pursuant to the Court’s Order Rescheduling the Hearing on Debtor’s

Motion for Extension of Time to File Plan and Gain Acceptance, COMES NOW

the United States of America, by and through Assistant United States Attorney,

Stephanie C. Bengford, and designates the following witnesses and exhibits in

opposing Debtor’s extension of time:

         WITNESS

         Alice Irvine
         Insolvency Specialist
         115 SE 4TH AVE
         ABERDEEN SD 57401-4380

         EXHIBITS

         Exhibit 1-   Declaration of Asad Shahid (admission has been consented to
                      by counsel for Debtor)

         Exhibit 2-   Amortization of Monthly Payments to the IRS by Debtor based
                      upon the Proof of Claim filed by the IRS
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Dated this 4th day of November, 2005.

                              MICHELLE G. TAPKEN
                              United States Attorney


                                /s/ Stephanie C. Bengford
                              STEPHANIE C. BENGFORD
                              Assistant U.S. Attorney
                              PO Box 3303
                              Sioux Falls, SD 57101-3303
                              605-330-4401, ext. 125
